Case 2:16-bk-16363-NB      Doc 185 Filed 08/02/17 Entered 08/02/17 17:45:52            Desc
                            Main Document    Page 1 of 11


1     PROBER & RAPHAEL, A LAW CORPORATION
      DEAN R. PROBER, ESQUIRE, #106207
2     LEE S. RAPHAEL, ESQUIRE #180030
      CASSANDRA J. RICHEY, ESQUIRE #155721
3     MELISSA VERMILLION, ESQUIRE #241354
4     BONNI S. MANTOVANI, ESQUIRE #106353
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      Woodland Hills, California 91364
7
      (818) 227-0100
8     (818) 227-0101 facsimile
      cmartin@pralc.com
9     Attorneys for Movant Pecas, LLC
      C.224-054
10

11                       IN THE UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
12
                                      LOS ANGELES DIVISION
13

14
      In re:                                   )   CASE NO. 2:16-bk-16363-NB
15                                             )
                                               )   Chapter 11 converted to Chapter 7
16    Lake Mathews Mineral Properties, LTD.,   )
17                                             )   NOTICE OF MOTION UPON REQUEST
                       Debtor.                 )   FOR HEARING AND MOTION FOR
18                                             )   ORDER AUTHORIZING
                                               )   EXAMINATION OF SHIRLEY S.
19                                             )   SMITH, ESQ., FORMER OF COUNSEL
                                               )   FOR DEBTOR AND CURRENT
20
                                               )   COUNSEL FOR PARTNER OF
21                                             )   DEBTOR, JAMES D. HOLMES,
                                               )   PURSUANT TO FEDERAL RULE OF
22                                             )   BANKRUPTCY PROCEDURE 2004
                                               )
23                                             )   (NO HEARING REQUIRED PURSUANT
24                                                 TO LBR 2004-1 AND LBR 9013-1(p))

25             TO THE HONORABLE NEIL W. BASON, UNITED STATES BANKRUPTCY

26    JUDGE, THE DEBTOR, THE OFFICE OF THE UNITED STATES TRUSTEE, THE

27    CHAPTER 7 TRUSTEE AND OTHER INTERESTED PARTIES:

28             COMES NOW, Pecas, LLC, movant of the Debtor, Lake Mathew Mineral Properties,

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1
      LTD (hereinafter “LMMP” or “Debtor” ), a creditor in the above-referenced case (“Movant”)
2
      hereby moves this Court for entry of an Order pursuant to Rule 2004 of the Federal Rules of
3
      Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing the 2004 Examination,              the
4
      proposed form of Order is attached hereto as Exhibit “A”, authorizing and directing the
5
      examination of Shirley Smith, partner of the Debtor.
6
               Movant seeks to have the 2004 Exam of Shirley Smith held on August 22, 2017 starting
7
      at 10:00 a.m. at Kelli Norden and Associates, 11835 West Olympic Boulevard, Suite 680E, Los
8
      Angeles, CA 90064 (Court reporter), and continuing from day to day and from time to time, as
9
      necessary or as Ordered by the Court.
10
               A proposed Order has been submitted with this Application granting the Motion for 2004
11
      Examination.
12
               Any opposition or motion for a protective order must be filed 14 (fourteen) days from the
13
      date of service of the Motion for 2004 Examination with a Request for Hearing with the
14
      Bankruptcy Court and a copy served on Cassandra J. Richey, Esq, Prober & Raphael, A Law
15
      Corporation, 20750 Ventura Boulevard, Suite 100, Woodland Hills, California 91364.in
16
      accordance with the provisions of Local Bankruptcy Rule 2004-1 and LBR 9013-1(o) and LBR
17
      9013-1(p). Failure to file a timely response may be deemed consent to the 2004 Examination.
18
      Dated:    August 2, 2017                             Prober & Raphael, A Law Corporation
19
                                                           By /s/ Cassandra J. Richey
20                                                            Cassandra J. Richey, SBN 155721
                                                           Attorneys for Movant
21

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1                        MEMORANDUM OF POINTS AND AUTHORITIES
2                                                    I.
3                                           INTRODUCTION
4            The Debtor, Lake Mathews Mineral Properties, LTD, (hereinafter “LMMP” or “Debtor”)
5     filed a petition under Chapter 11 on May 13, 2016, Case No. 2:16-bk-16363-NB.
6            Prior to filing the Chapter 11 Bankruptcy case, the Debtor was embroiled in state court
7     litigation involving Pecas, LLC vs. Lake Mathews Mineral Properties, LTD, Et. Al. (BC600724,
8     Superior Court, State of California, Los Angeles and RIC1309386 -Paul Merritt vs. James D.
9     Holmes, Jr and Lake Mathew Mineral Properties LTD- Riverside Superior Court, State of
10    California).
11           Movant has information suggesting that Shirley S. Smith, Esq., as a prior general legal
12    counsel of the Debtor and as current counsel of James D. Holmes, former managing partner of
13    Debtor, has relevant information regarding the filing of the Debtor’s bankruptcy case which is

14    relevant to Movant’s position as a creditor in the within bankruptcy case.     Movant seeks to

15    obtain information and documentation regarding the above issues relating to the Debtor’s pre-

16    petition assets, liabilities and partnership agreements to determine, among other things, whether

17    assets may be available for recovery for the benefit of the Debtor’s creditors, and whether the
      Debtor may have taken actions with respect to those assets, liabilities and partnerships that
18
      would preclude the Debtor from filing a bankruptcy case.
19
                                                     II.
20
                                         RELIEF REQUESTED
21
             By this Motion, Movant respectfully requests the entry of an Order, pursuant to Federal
22
      Rule of Bankruptcy Procedure (“FRBP”), Rule 2004, directing Shirley S. Smith, Esq., as a prior
23
      general legal counsel of the Debtor and as current counsel of James D. Holmes, former managing
24
      partner of Debtor to: (i) submit to an examination by Movant, to be recorded by court reporter
25
      (the “Rule 2004 Examination”), beginning on August 18, 2017 at 10:00 a.m., at Kelli Norden
26
      and Associates, 11835 West Olympic Boulevard, Suite 680E, Los Angeles, CA 90064 (Court
27

28
                                                     3
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1     reporter) and continuing from day to day and from time to time, as necessary or as Ordered by
2     the Court until completed.
3                                                     III.
4                                  BASIS FOR REQUESTED RELIEF
5            The purpose of an examination pursuant to Rule 2004 of the Federal Rules of Bankruptcy
6     Procedure is generally to gain a “clear picture of the condition and whereabouts of the

7     bankruptcy estate”. Keena Corp. v, Johns-Manville Corp. (In re Johns-Manville), 42 Bankr. 362,

8     364 (Bankr. S.D.N.Y., 1984). Courts have uniformly recognized that the scope of the 2004

9     examination is “unfettered and broad.” In re Table Talk, Inc. 51 Bankr. 143, 145 (Bankr. D.

10    Mass. 1985). An examination pursuant to Rule 2004 may “cut a broad swath through the

11    Debtor’s affairs.” Johns-Mansville Corp. supra, 42 Bankr. at 364.

12           The Movant desires to examine Shirley S. Smith, Esq., as a prior general legal counsel of
      the Debtor and as current counsel of James D. Holmes, former managing partner of Debtor,
13
      generally with respect to: (i) information relating to the acts, conduct, property, liabilities, and
14
      claims of the Debtor, which may affect the administration of the Debtor’s estate, as permitted
15
      under Federal Rules of Bankruptcy Procedure Rule 2004; and (ii) information about the Debtor’s
16
      assets, liabilities and partnership agreements generally, and specifically an accounting of the
17
      partnership agreements of the Debtor and assets transferred by the Debtor to determine if claims
18
      or assets exist outside of what was provided on the Debtor’s schedules and the values provided
19
      therein.
20
             Local Bankruptcy Rule 2004-1 requires that the Motion identify the place of residence
21
      and the place of employment of the examinee, if known. Shirley S. Smith, Esq., as a prior
22
      general legal counsel of the Debtor and as current counsel of James D. Holmes, former managing
23
      partner of Debtor, whose address is “Shirley S. Smith, 1447 16th Street, Santa Monica, CA
24    90404.” No other address is given for such employment aside from her home. Movant has also
25    served the address showing in the bankruptcy court docket as an address, but it is believed to no
26    longer be valid.
27

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1            Local Bankruptcy Rule 2004-1 further requires that the Motion state why the
2     examination cannot proceed under FRBP 7030 or 9014. An examination cannot proceed under
3     these rules since they pertain only in the context of a pending contested matter or adversary
4     proceeding, and there is no pending adversary proceedings or contested matter herein as between
5     the Movant and the Debtor.

6            In accordance with Local Bankruptcy Rule 2004-1(a), Cassandra J. Richey, counsel for

7     Movant, met and conferred with Trustee’s counsel, Juliet Y. Oh.            Trustee’s counsel has

8     consented to the 2004 Examination of Shirley S. Smith. Therefore, Counsel for the Movant

9     unilaterally picked the date of August 18, 2017 at 10:00 a.m., and filed this Motion.

10                                                   IV.
                                              CONCLUSION
11
             For the foregoing reasons, Movant submits that it is appropriate to permit the instant
12
      examination to proceed pursuant to FRBP 2004. The Movant’s request for an order directing
13
      Shirley S. Smith, Esq., as a prior general legal counsel of the Debtor and current counsel for
14
      James D. Holmes, former managing partner of Debtor to appear to testify is necessary, proper
15
      and appropriate.
16

17    Dated: August 2, 2017                                Prober & Raphael, A Law Corporation
18
                                                           By /s/ Cassandra J. Richey
19
                                                              Cassandra J. Richey, Esq., #155721
20                                                           Attorneys for Movant

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1                               PROOF OF SERVICE OF DOCUMENT
2    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is:
3
     Prober & Raphael, A Law Corporation, 20750 Ventura Boulevard, Suite 100, Woodland Hills, CA 91364
4
     A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION UPON
5    REQUEST FOR HEARING AND MOTION FOR ORDER AUTHORIZING EXAMINATION OF SHIRLEY S.
     SMITH, ESQ., FORMER AND/OR CURRENT COUNSEL FOR DEBTOR AND JAMES D. HOLMES,
6    PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 2004 will be served or was served
     (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
7    stated below:

8    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
9    hyperlink to the document. On 8/2/17, I checked the CM/ECF docket for this bankruptcy case or adversary
     proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
10   transmission at the email addresses stated below:

11   Franklin C Adams franklin.adams@bbklaw.com,
     arthur.johnston@bbklaw.com;lisa.spencer@bbklaw.com
12   Michael Jay Berger michael.berger@bankruptcypower.com,
     yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
13   Dare Law dare.law@usdoj.gov,
     Kenneth.G.Lau@usdoj.gov;Alvin.mar@usdoj.gov;hatty.yip@usdoj.gov
14   Charles R Markley cmarkley@williamskastner.com, norah.cartier@greenemarkley.com
     Elissa Miller (TR) CA71@ecfcbis.com, MillerTrustee@Sulmeyerlaw.com;C124@ecfcbis.com
     Juliet Y Oh jyo@lnbrb.com, jyo@lnbrb.com
15   Giovanni Orantes go@gobklaw.com, gorantes@oranteslaw.
     com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com
16   Cassandra J Richey ecfcca@ecf.courtdrive.com
     Melanie Scott melanie.scott@usdoj.gov
17   David Samuel Shevitz david@shevitzlawfirm.com,
     shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com
18   Adam Telanoff adam.telanoff@gmail.com
     United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
19
                                                                Service information continued on attached page
20
     2. SERVED BY UNITED STATES MAIL:
21   On 8/2/17, I served the following persons and/or entities at the last known addresses in this bankruptcy
     case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
22   States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
     declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
23

24
                                                                Service information continued on attached page
25

26

27
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
28
                                                           6
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     (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
1
     _______________, I served the following persons and/or entities by personal delivery, overnight mail
     service, or (for those who consented in writing to such service method), by facsimile transmission and/or
2    email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
     mail to, the judge will be completed no later than 24 hours after the document is filed.
3
                                                                 Service information continued on attached page
4

5     I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
      and correct.
6
      8/2/17                       Roger Soria           /s/ Roger Soria
7     Date                           Type Name           Signature

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1
         2: SERVED BY U.S. MAIL
2

3        Hon. Neil W. Bason
         U.S. Bankruptcy Court
4        Roybal Federal Building
         255 E. Temple Street, Suite 1552
5
         Los Angeles, CA 90012-3332
6        Judge’s Copy

7        Lake Mathews Mineral Properties, LTD.
         100 Oceangate, Suite 1200
8        Long Beach, CA 90802
9        Debtor

10       Michael Jay Berger
         9454 Wilshire Blvd 6th Fl
11       Beverly Hills, CA 90212-2929
         Attorney for Debtor
12

13       James D. Holmes
         c/o Shirley Smith, Esq.
14       9359 Lincoln Blvd., #4244
         Los Angeles, CA 90045
15       Former Managing Partner of Debtor
16
         James D. Holmes
17       c/o Shirley Smith, Esq.
         1447 16th Street
18       Santa Monica, CA 90404
         Former Managing Partner of Debtor
19

20       Shirley Smith, Esq.
         9359 Lincoln Blvd., #4244
21       Los Angeles, CA 90045
         Prior General Legal Counselor
22

23       Shirley Smith, Esq.
         1447 16th Street
24       Santa Monica, CA 90404
         Prior or Current General Legal Counselor
25

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                                                    8
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1        Elissa Miller (TR)
         SulmeyerKupetz
2        333 S Hope St, 35th fl
         Los Angeles, CA 90071
3
         Chapter 7 Trustee
4
         Franklin C Adams
5        Best Best & Krieger LLP
         3390 University Ave., 5th Floor
6        P. O. Box 1028
7        Riverside, CA 92502
         Attorney for Chapter 7 Trustee
8

9        Juliet Y Oh
         10250 Constellation Blvd Ste 1700
10
         Los Angeles, CA 90067
11       Attorney for Chapter 7 Trustee

12       United States Trustee (LA)
         915 Wilshire Blvd, Suite 1850
13       Los Angeles, CA 90017
14
         Dare Law, Esquire
15       Melanie Scott Green, Esquire
         Office of the United States Trustee
16       915 Wilshire Blvd.
         Suite 1850
17
         Los Angeles, CA 90017
18       Attorney for the U.S. Trustee

19       Kelli Norden and Associates
         11835 West Olympic Boulevard, Suite 680E
20       Los Angeles, CA 90064
21       Court reporter

22       Parties on attached Creditors List

23

24

25

26

27

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                                                    9
Label Matrix for local noticing      Case 2:16-bk-16363-NB          Doc 185 LTDFiled 08/02/17
                                               Lake Mathews Mineral Properties,                  Entered
                                                                                            Los Angeles      08/02/17 17:45:52
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                                               19900 MacArthur Blvd Ste 1150 Document    Page   10  of  11
                                                                                            255 East Temple Street,
Case 2:16-bk-16363-NB                            Irvine, CA 92612-8433                      Los Angeles, CA 90012-3332
Central District of California
Los Angeles
Fri Jun 17 17:22:37 PDT 2016
Adam Telanoff, Esq.                              Ann Bitterman                              Baker & McKenzie, LLC
9737 Lurline Ave.                                Coral Gables                               300 East Randolph Street, Ste 5000
Chatsworth, CA 91311-4404                        405 Biltmore Way                           Chicago, IL 60601-6342
                                                 Coral Gables, FL 33134-5770


Danielia Wingham                                 David J Myers, Eqq                         Dennis Palmieri
3435 Ocean Park Blvd., No 107-43                 Kuzyk Law, LLP                             P O Box 2465
Santa Monica, CA 90405-3301                      17606 Camino de Yatasio                    Malibu, CA 90265-7465
                                                 Pacific Palisades, CA 90272-2014


Ernst Muusse                                     Franchise Tax Board                        Frank Cardinale
3435 Ocean Park Blvd., No. 107-43                Bankruptcy Section MS A340                 1300 Bristonl Street N. Ste 100
Santa Monica, CA 90405-3301                      PO Box 2952                                Newport Beach, CA 92660-2989
                                                 Sacramento, CA 95812-2952


(p)INTERNAL REVENUE SERVICE                      Jackson Cox                                Klover Trust
CENTRALIZED INSOLVENCY OPERATIONS                c/o Walter J. Sawacki, Esq.                c/o Frank Cardinale, Esq.
PO BOX 7346                                      2430 Ocean View Ave;, Ste 305              1300 Bristonl Street N., Ste 100
PHILADELPHIA PA 19101-7346                       Los Angeles, CA 90057-1894                 Newport Beach, CA 92660-2989


Lawrence Holmes Senior Mining, Inc               Martin Hudler & Bridgeport Mngmnt.         Matt Washin
100 Oceangate Ste 1200                           c/o Charles R Markley                      c/o Walter J Sawacki, Esq.
Long Beach CA 90802-4324                         Greene & Markely PC                        2430 Ocean View Ave., Ste 305
                                                 1515 SW 5th Ave.#600                       Los Angeles, CA 90057-1894
                                                 Portland, OR 97201-5492

PECAS LLC                                        PECAS PROPERTY HOLDINGS, LLC               Palmieri, Tyler, Winer, Wilhelm
1417 Via Anita                                   1417 Via Anita                             & Waldron, LLC
Pacific Palisades, CA 90272-2357                 Pacific Palisades, CA 90272-2357           1900 Main Steet, Suite 700
                                                                                            Irvine, CA 92614-7328


Shirley Smith, Esq.                              The Planning Group, LLC an Arizona         United States Trustee (LA)
James D Holmes                                   Altair LLC, an Arizona LLC                 915 Wilshire Blvd, Suite 1850
9359 Lincoln Blvd., Ste 4244                     800 N. Gainey Center Dr., Ste 176          Los Angeles, CA 90017-3560
Los Angeles, CA 90045-7103                       Scottsdale, AZ 85258
INTERNAL REVENUE SERVICE       Case 2:16-bk-16363-NB
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300 North Los Angeles Street             Mailable recipients Main
                                                              25   Document    Page 11 of 11
M/S 5022                                 Bypassed recipients    0
Los Angeles, CA 90012                    Total                 25
